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sizes thrm 2833(04113}
United States Bankruptcy Court
Eastern District of New York

in re Walter Nelra Cnse No. 1346?3?
Debtor(s} Chaptcr

 

_1,___._._.__~__--_

CHAPTER 13 DEB’I`()R'S CERTIFICATIONS REGARDING
DOMES'I‘IC S`UPPORT OBLIGATIONS AND SECTION 522{\])

.Part I. Cerrij?cation Regardz'ng Domesn'c Sz¢ppor! Obligartons (check no more than one)
Purseenete J, 1 t t !~M‘. Section l328(a), 1 certify that:

l:l I owed no domestic support obligation when l filed my bankruptcy petition, nndl have not been-required to
pay any such obligation since then.

|Ii/ f am or have been required to pay a domestic support obligation t have paid all such amounts that my
chapter 13 plan required me to pay. l have also paid all such amounts that became due between the filing of my
bankruptcy petition and today.

Part II. Ifyou checked the second box, you must provide the i)y"ormation below.

t My current address: r__

 

t My current employer and my employers
address'.

 

P¢zrt III. Cerr{ficatton Regardr'ng Section 522(q) (check no more than one)
Pursuaut to ll U.S.C. Section l328(h), l certify that:

EE\/ l have not claimed an exemption pursuant to §522(b)(3) and state or local law (1) in property that l or a
dependent of mine uses as a residence, claims a holnestead, or acquired as a burial plot, as specified in §§Zz(p)(l),
and (2) that exceeds 3155,675‘ in value in the aggregate

{'_`] I have claimed an exemption in property pursuant to §522(1))(3) and state and local law (l) that l or s
dependent ot` mine uses as a residence, claims as a homestead, or acquired as a burial plot, as specified in
§522(1))(}), and (2) that exceeds $155,675' in value in the aggregate

Pcrt IV. Debtor‘s Signotw'e

y
l certify under penalty of perjury that the information provided in these certifications is true and correct to

 

 

the best of my knowledge and bellef.
Executed on December 17. 2013 pmwa `
Date Wa|ter Netra
Debtor

*i-tmaimu are subject to a¢p‘rurmem on 4/0!/16 and every 3 years thereaj?er with respect ro cases commenced on or q[ier the date ofadjiusmte:ir.

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